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                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                 )   Chapter 11
                                                       )
                                                   1
LAZY DAYS’ R.V. CENTER, INC., et al.,                  )   Case No. 09-13911 (___)
                                                       )
                          Debtors.                     )   Joint Administration Requested
                                                       )

   MOTION OF THE DEBTORS FOR ENTRY OF INTERIM AND FINAL ORDERS
   (A) AUTHORIZING THE DEBTORS TO OBTAIN POSTPETITION FINANCING
FROM BANK OF AMERICA, N.A., AS AGENT, AND BANK OF AMERICA, N.A., AND
 KEYBANK NATIONAL ASSOCIATION, AS LENDERS; (B) GRANTING LIENS AND
  SUPERPRIORITY CLAIMS; (C) AUTHORIZING USE OF CASH COLLATERAL;
               (D) MODIFYING THE AUTOMATIC STAY; AND
      (E) SCHEDULING THE FINAL HEARING ON THE DEBTORS’ MOTION

         Lazy Days’ R.V. Center, Inc. (“Lazy Days”) and its affiliates, as debtors and debtors in

possession (collectively, the “Debtors”), file this motion (the “Motion”) for entry of an interim

order (the “Interim DIP Order”), substantially in the form attached hereto as Exhibit A, and a

final order (the “Final DIP Order,” together with the Interim DIP Order, the “DIP Orders”),

(a) authorizing the Debtors to obtain postpetition financing on a superpriority administrative

claim and first-priority lien basis, (b) authorizing the Debtors to use cash collateral,

(c) modifying the automatic stay, (d) scheduling the time for the final hearing on the Motion and

(e) granting related relief. In support of this Motion, the Debtors respectfully states as follows:

                                                  Jurisdiction

         1.      This Court has jurisdiction over this Motion under 28 U.S.C. §§ 157 and 1334.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue of this

proceeding and this Motion in this District is proper under 28 U.S.C. §§ 1408 and 1409.


1
    The Debtors, along with the last four digits of each Debtor’s federal tax identification number, are: Lazy Days’
    R.V. Center, Inc. (4794); LD Holdings, Inc. (1834); LDRV Holdings Corp. (6915); and RV Acquisition Inc.
    (1630). The location of the Debtors’ corporate headquarters and the service address for all Debtors is: 6130
    Lazy Days Boulevard, Seffner, Florida 33584-2968.


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         2.      The statutory bases for the relief requested herein are sections 105, 361, 362, 363

and 364 of title 11 of the United States Code (the “Bankruptcy Code”), rules 2002, 4001 and

9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and rule 4001-2 of

the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for

the District of Delaware (the “Local Rules”).

                                            Background

         3.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11

Cases”). The Debtors are operating their businesses and managing their properties as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No request for the

appointment of a trustee or examiner has been made in these Chapter 11 Cases. No committees

have been appointed or designated. Concurrently with the filing of this Motion, the Debtors

have requested procedural consolidation and joint administration of these Chapter 11 Cases.

         4.      A description of the Debtors’ businesses, the reasons for commencing these

Chapter 11 Cases and the relief sought from this Court to allow for a smooth transition into

chapter 11 are set forth in the Declaration of Randall Lay, Chief Financial Officer of Lazy Days’

R.V. Center, Inc., in Support of the Debtors’ Chapter 11 Petitions and First Day Motions

(the “First Day Declaration”) filed contemporaneously herewith, and incorporated by reference

as though fully set forth herein.

                                         Relief Requested

         5.      By this Motion, the Debtors request entry of the DIP Orders granting, without

limitation, the following relief:

                 a.     authority to (i) obtain loans, advances and other financial accommodations
                        in the aggregate principal amount of up to $65 million under a postpetition
                        financing facility (the “DIP Facility”), and access up to $45 million

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                        thereof on an interim basis on the terms and conditions in the Interim DIP
                        Order;

                 b.     authority to enter into, execute and deliver that certain Post-Petition Credit
                        Agreement, substantially in the form attached hereto as Exhibit B and
                        incorporated by reference herein (together with any other agreements,
                        documents and instruments related thereto, including with respect to
                        certain Existing Letters of Credit and an Epayables Program (as defined
                        therein), as each of the same may be amended, supplemented or modified
                        from time to time, collectively, the “DIP Credit Agreement”), by and
                        among the Debtors, Bank of America, N.A. (“BoA”), as administrative
                        and collateral agent (in such capacity, the “DIP Agent”), and BoA and
                        KeyBank National Association (a national banking association), as lenders
                        (in such capacity, together, the “DIP Lenders”);

                 c.     authorizing the financing under the DIP Credit Agreement to: (i) have
                        priority over any and all administrative expenses, including, without
                        limitation, the kinds specified in sections 105, 326, 330, 331, 503(b),
                        506(c) (subject to approval in the Final DIP Order), 507(b), and 726 of the
                        Bankruptcy Code, except for the Carve-Out (as defined below) (the
                        “DIP Facility Superpriority Claims”), and (ii) be secured by first priority
                        security interests in, and liens on (collectively, the “DIP Facility Liens”)
                        the assets of the Debtors constituting “Collateral” as defined in the DIP
                        Credit Agreement (but excluding any actions or proceeds of actions under
                        Chapter 5 of the Bankruptcy Code and subject to any prior permitted liens
                        under the Prepetition Credit Agreement), as provided for by section 364(c)
                        and (d) of the Bankruptcy Code (all of the foregoing, collectively, the
                        “Collateral”);

                 d.     authority to use “cash collateral” within the meaning of section 361 of the
                        Bankruptcy Code (the “Cash Collateral”), pursuant to sections 361 and
                        363 of the Bankruptcy Code;

                 e.     modification of the automatic stay to the extent set forth in the DIP Orders
                        and the DIP Credit Agreement, pursuant to section 362 of the Bankruptcy
                        Code;

                 f.     scheduling the final hearing on the Motion to consider entry of the Final
                        DIP Order authorizing and granting the relief requested herein, pursuant to
                        Bankruptcy Rule 4001; and

                 g.     granting related relief and such other and further relief as the Court deems
                        just and proper.

         6.      In further support of this Motion, the Debtors submit the First Day Declaration

and the Declaration of Ford R. Phillips in Support of the Motion of The Debtors For Entry of


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Interim And Final Orders (A) Authorizing The Debtors To Obtain Postpetition Financing From

Bank of America, N.A., As Agent, And Bank of America, N.A., and KeyBank National

Association, As Lenders; (B) Granting Liens And Superpriority Claims; (C) Authorizing Use of

Cash Collateral; (E) Modifying The Automatic Stay; And (F) Scheduling The Final Hearing On

The Debtors’ Motion (the “Phillips Declaration”), which is attached hereto as Exhibit C and

incorporated herein by reference.

                        Concise Statement Pursuant to Bankruptcy Rule 4001

         7.      In accordance with Bankruptcy Rule 4001 and Local Rule 4001-2, the material
                                                                                                             2
provisions of the DIP Credit Agreement and the proposed DIP Orders are summarized below:

Provision                      Summary Description
Borrower:                      Lazy Days’ R.V. Center, Inc. (the “Borrower”), a debtor-in-possession under
                               Chapter 11 of the United States Bankruptcy Code in the United States Bankruptcy
                               Court for the District of Delaware.

Guarantors:                    All obligations under the DIP Facility will be unconditionally guaranteed (the
                               “Guarantee”) by the Borrower’s parent companies, RV Acquisition, Inc. (“RV
                               Acquisition”) and LD Holdings, Inc. (“LD Holdings”), and the Borrower’s
                               subsidiary, LDRV Holdings Corp. (“LDRV Holdings”), with certain exceptions to
                               be agreed upon and subject to obtaining necessary regulatory approvals (each a
                               “Guarantor” and, together with the Borrower, the “Loan Parties”).

DIP Agent:                     Bank of America, N.A.

DIP Lenders:                   Bank of America, N.A. and KeyBank National Association
Type and
                               The DIP Facility consists of a $45,000,000 senior floor plan facility (the “Floor
Amount of Facilities:
                               Plan Facility”), with a $20,000,000 seasonal limit increase from October 1, 2009
                               through March 31, 2010 at advance rates set forth in the definitive documentation.

Borrowing Conditions:          Customary borrowing conditions, including requirements relating to prior written
                               notice of borrowing, the accuracy of representations and warranties, the absence of
                               any default or potential event of default and other conditions customary and
                               appropriate for financings of this type. See DIP Agmt., at § 4.



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    This summary is qualified in its entirety by the provisions of the DIP Agreement and the DIP Orders.
    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the DIP Credit
    Agreement. To the extent there are any conflicts between this summary and the DIP Credit Agreement, the
    terms of the DIP Credit Agreement shall govern. Moreover, to the extent there are any conflicts between the
    DIP Agreement and the DIP Orders, the terms of the DIP Orders shall govern. All defined terms used but not
    otherwise defined herein shall have the means ascribed to them in the DIP Credit Agreement.

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Provision                       Summary Description
Maturity:                       The maturity date of the DIP Facility will be (and all loans and obligations under
                                the DIP Facility shall be repaid in full on) the earliest of: (a) 60 days after the
                                Petition Date, (b) upon 15 days’ advance written notice by the Company, (c) the
                                acceleration of the loans and termination of the commitments in accordance with
                                the terms of the Facility, (d) the date that is 30 days after the Petition Date, if the
                                Final DIP Order has not been entered by the Bankruptcy Court by that date, unless
                                the Interim DIP Order has been extended with the Agent’s written consent to a
                                date that is acceptable to the Agent, (e) the date upon which the Interim Order
                                expires, unless the Final DIP Order has been entered and becomes effective by
                                that date, and (f) the date a plan of reorganization in the Chapter 11 Cases
                                becomes effective. See DIP Agmt., at Schedule B “Termination Date”
                                definition.


Use of Funds:                   The proceeds of the DIP Facility will be used to (a) provide floor plan financing
                                for the Debtors, (b) pay the prepetition loans and other prepetition claims and
                                obligations owed to the Prepetition Agent (as defined below) and the Prepetition
                                Lenders (as defined below) under the Prepetition Credit Facility (as defined
                                below), (c) pay all fees and expenses (including, without limitation, reasonable
                                attorneys’ fees and expenses) owed to the DIP Agent and the DIP Lenders under
                                the DIP Facility, (d) fund ongoing working capital needs of the Debtors (e)
                                provide for the Company to secure the obligations of BoA under the Existing
                                Letters of Credit (as defined below) by a security interest in the “L/C Security
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                                Account” (as defined in the DIP Credit Agreement) and indemnify BoA for losses
                                arising from the Existing Letters of Credit and (f) permit the Debtors to participate
                                                                                                        4
                                in the “Epayables Program” (as defined in the DIP Credit Agreement) offered by
                                BoA, secure the Debtors’ obligations under the Epayables Program with a security
                                interest in the “Epayables Security Account” (as defined in the DIP Credit
                                            5
                                Agreement) and indemnify BoA for losses arising from the Epayables Program.
                                See Int. DIP Ord., at Preamble and ¶ 2.
                                All amounts outstanding under the Facility will bear interest, at the Borrower’s
Interest Rate:
                                option, as follows:
                                      (i) at Libor Rate plus 5.00% per annum; or
                                      (ii) at Prime Rate plus a margin per annum to be agreed upon.
                                See DIP Agmt., at § 2.1.
Default Rate:                   The Default Rate equals the interest rate then applicable to the relevant Borrowing
                                of Loans plus an amount equal to 2.50% per annum. See DIP Agmt., at § 2.3 and
                                definition of “Overdue Rate”.

Fees:                           The Debtors have agreed to pay the following fees:
                                             Origination Fee: $412,500 as consideration for the origination of the
                                              Floor Plan Loans under the terms and conditions of the DIP Credit

3
    The L/C Security Account was established by the Debtors with BoA and funded prior to the Petition Date and is
    described in more detail in the Motion For Entry of An Order Authorizing The Debtors To Continue To Use
    Existing Cash Management System, filed contemporaneously herewith.
4
    The Debtors use the “Epayables Program” as part of their accounts payables process as a substitute for check
    disbursements. Approximately $92,000 is owed under the Epayables Program as of the Petition Date.
5
    The Epayables Security Account was established by the Debtors with BoA and funded prior to the Petition Date
    and is described in more detail in the Motion For Entry of An Order Authorizing The Debtors To Continue To
    Use Existing Cash Management System, filed contemporaneously herewith.

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Provision                  Summary Description
                                        Agreement
                                       Letter of Credit Fee: An issuance fee equal to 2.0% per annum of the
                                        amount of the Letter of Credit
                                       Covenant Violation Fee: $25,000 per calendar month or portion
                                        thereof during which any Loan Party is in violation of any of its
                                        covenants in Section 10 of the DIP Credit Agreement;
                                       Agent Fee: all administrative fees required in the Fee Letter and any
                                        other agreement executed by the Debtors and the Agent in
                                        connection with the DIP Credit Agreement;
                                       Renewal Letter of Credit Fee: an annual renewal fee equal to 2.0%
                                        per annum of the amount of the Existing Letter of Credit for the
                                        continuance of each Existing Letter of Credit. Upon the occurrence
                                        and during the continuation of an Event of Default, the foregoing
                                        Existing Letter of Credit fee will be increased to 4%

                           See DIP Agmt., at § 3.

Liens and Priority:        The DIP Facility will (i) have priority over any and all administrative expenses,
                           including, without limitation, the kinds specified in sections 105, 326, 330, 331,
                           503(b), 506(c), 507(b), and 726 of the Bankruptcy Code, except for the Carve-Out
                           (as defined below) and fees payable pursuant to 28 U.S.C. § 1930 and to the Clerk
                           of Court as provided for in the DIP Orders, and (ii) be secured by first priority
                           security interests in, and liens on the Collateral (as defined in the DIP Credit
                           Agreement) (but excluding any actions or proceeds of actions under Chapter 5 of
                           the Bankruptcy Code), as provided for by section 364(c) and (d) of the Bankruptcy
                           Code. See Int. DIP Ord., at ¶¶ 3, 4.

Events of Default:         The DIP Facility includes customary and appropriate events of default (subject, in
                           each case, to materiality thresholds, and customary notice and grace periods),
                           including, among others, payment defaults, failure to comply with certain
                           covenants, breach of warranty and representations, entry of a final judgment
                           against any Loan Party in excess of $500,000, the occurrence of a change of
                           control, a default in performance under the Ground Lease and Global Settlement
                           Agreement (as each term is defined in the DIP Credit Agreement), and the
                           occurrence of certain Chapter 11 related events, including, among others, the entry
                           of an order staying, amending, vacating, supplementing, or otherwise modifying
                           the DIP Credit Agreement or DIP Orders, the filing of a motion (or the support of
                           any motion) by a Loan Party to obtain alternative financing not permitted by the
                           DIP Credit Agreement or DIP Orders, and the filing of any plan of reorganization
                           or disclosure statement by a Loan Party to which the DIP Agent or the DIP
                           Lenders do not consent or otherwise agree to the treatment of their claims,
                           provided that the filing of any plan of reorganization that provides the DIP
                           Lenders are paid in full shall not constitute an event of default. See DIP Agmt.,
                           at § 11.




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Provision                       Summary Description
Carve-Out:                      The DIP Facility Superpriority Claims and the DIP Facility Liens shall be subject
                                only to the payment of the following fees and expenses (the “Carve-Out”): (x)
                                fees to the Clerk of the Court and to the Office of the United States Trustee
                                pursuant to 28 U.S.C. § 1930 and (y) subject in each case to the “Carve-Out
                                Amount,” the unpaid and outstanding fees and disbursements actually incurred on
                                or after the Petition Date by the Debtors’ Professionals (as defined in the DIP
                                Credit Agreement) and professionals for the official committee of unsecured
                                creditors (the “Committee,”), if any, appointed in the Chapter 11 Cases
                                (collectively, the “Professionals”) and allowed by order of this Court pursuant to
                                sections 326, 328, 330, or 331 of the Bankruptcy Code (collectively, the “Allowed
                                Professional Fees”).

                                The “Carve-Out Amount” incurred on or after the Petition Date through the earlier
                                of (a) the effective date of the Prepackaged Plan or (b) the date the DIP Agent
                                issues a notice of an Event of Default (as defined in the DIP Credit Agreement) to
                                any of the Debtors or their counsel (the “Pre-Default Period”) is a maximum,
                                cumulative, aggregate amount of $2,000,000, and after the DIP Agent issues any
                                such notice of an Event of Default, is a maximum cumulative, aggregate amount
                                of $500,000, less the amount of any retainer or other deposit or security held by
                                any Professional at the time the notice of an Event of Default is issued. If during
                                the Pre-Default Period the Debtors make one or more requests in writing to the
                                DIP Agent that the DIP Agent and the DIP Lenders increase the Carve-Out
                                Amount applicable during the Pre-Default Period by not more than 10% in any
                                single request, specifying the proposed new Carve-Out Amount for that period and
                                the reasons for the requested increase, and the DIP Agent in its discretion does not
                                object to the request within five business days after receipt of the request, the
                                Carve-Out Amount for the Pre-Default Period will increase to the amount so
                                requested by the Debtors.

                                The Carve-Out cannot be used to pay Allowed Professionals Fees for the
                                prosecution of any claims or causes of action against BoA, in its capacity as issuer
                                of the Existing Letters of Credit and lender under the Epayables Program the DIP
                                Agent, the DIP Lenders, the Prepetition Agent or the Prepetition Lenders.

                                See Int. DIP Ord., at ¶¶ 6, 7.


                      Provisions to Be Highlighted Pursuant to Local Rule 4001-2

         8.      The Debtors believe the following provisions of the DIP Credit Agreement and/or

Interim DIP Order must be highlighted (the “Highlighted Provisions”) pursuant to Local Rule
         6
4001-2:

                 a.        Waiver of Section 506(c) Rights. Subject to the Carve-Out, and entry of
                           the Final DIP Order, no expenses of administration will be charged against


6
    In accordance with Local Rule 4001-2(a)(i), the Debtors has provided a separate justification for each
    Highlighted Provision under the “Basis for Relief” heading below.

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                        or recovered from the Collateral pursuant to section 506(c) of the
                        Bankruptcy Code. See Interim DIP Order, at ¶ 11.

                 b.     Roll-Up of Prepetition Obligations. The DIP Facility contemplates the
                        immediate roll-up of the Prepetition Obligations, subject to the terms and
                        conditions of the DIP Credit Agreement. See DIP Credit Agreement, at
                        ¶ 5.2.

                 c.     Validity, Perfection and Amount of Prepetition Obligations. Subject to an
                        investigation period, as applicable, the proposed Interim DIP Order
                        contains certain findings of fact that would bind parties in interest with
                        respect to the existence, validity or amount of the Prepetition Obligations.
                        See Interim DIP Order, at ¶¶ D, E, F, G, H, 9.

         9.      As   illustrated   below,    these     provisions     are   commonly     found     in

debtor-in-possession financing agreements of this nature. The Debtors also note that the DIP

Lenders would not have agreed to provide financing to the Debtors absent such provisions.

                                      Preliminary Statement

         10.     As set forth in greater detail in the First Day Declaration, the Debtors are the

world’s largest single site retailer of recreational vehicles (“RVs”). As has been widely reported,

the U.S. economy is ensconced in the deepest recession in decades, compounded by continuing

mortgage defaults, depressed real estate prices, falling equity value, illiquid credit markets, rising

unemployment and depleted consumer wealth and confidence. There is no doubt that this recent

economic turmoil has had an adverse impact on the RV industry, where sales volume is directly

related to consumer confidence and discretionary spending. According to the Statistical Surveys,

Inc., total industry-wide sales of new RVs decreased 26.8% from 308,447 units sold in 2007 to

225,541 units sold in 2008, with Class A motor home sales having decreased 44.5%, Class C

motor home sales having decreased 36.9%, conventional travel trailer sales having decreased

24.1% and fifth-wheel towable sales having decreased 21.7%. In line with industry trends, in

2008, the Debtors sold 2,284 new vehicles (a decrease of 28% from 2007) and 2,642 used

vehicles (a decrease of 24% from 2007).

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         11.     Against this backdrop, and as more fully-discussed in the First Day Declaration,

once it became clear that the Debtors would not be able to complete an out-of-court alternative

within the timeframe necessary to address pressing liquidity issues, the Debtors commenced

these Chapter 11 Cases to effectuate the terms of their Prepackaged Plan (as defined below).

         12.     In connection therewith, the Debtors bring this Motion to avert the immediate and

irreparable harm the Debtors’ estates would suffer without immediate access to additional funds

to sustain going-concern operations and to fund the purchase of additional inventory.            In

particular, the liquidity provided under the DIP Facility is urgently required to ensure the

Debtors are able to continue ongoing business operations, preserve the value of estate assets,

maintain favorable relationships with suppliers and customers, pay employees and satisfy other

working capital and general corporate needs, among other things, all of which are necessary to

maintain the value of the Debtors’ business and, ultimately, effectuate a successful business

reorganization.

         13.     As discussed in greater detail below, except as otherwise set forth in the DIP

Facility and the Interim DIP Order, the proposed DIP Facility will be provided by the Debtors’

existing Prepetition Lenders on a superpriority administrative claim and first priority priming

lien basis and the Prepetition Obligations will be rolled up into the DIP Facility. The DIP

Facility—the only reasonable financing alternative available to the Debtors at this time—is the

culmination of extensive, arm’s-length, good-faith negotiations and contains terms that are fair,

reasonable and warranted under the circumstances.           Accordingly, for the reasons above-

summarized and discussed more fully below, the Debtors respectfully submit that the DIP

Facility should be approved on the terms proposed herein.




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                       Summary of The Debtors’ Prepetition Debt Obligations

         14.      As discussed in detail in the First Day Declaration, as of September 2, 2009, the

Debtors have total outstanding funded debt in the aggregate principal amount of $160.3 million,

consisting of approximately $22 million in first lien bank debt, $137.8 million in unsecured

bonds and approximately $493,600 of other debt obligations arising under or in connection with

certain issued but undrawn standby letters of credit.

A.       Secured Bank Debt

         15.      Lazy Days is party to the Third Amended and Restated Credit Agreement, dated

as of February 22, 2007 (as further amended, restated, supplemented or otherwise modified, the

“Prepetition Credit Agreement”), by and among Lazy Days, as borrower, BoA, as administrative

agent and collateral agent (in such capacity, the “Prepetition Agent”), and BoA and KeyBank

National Association, each in their capacity as lenders (together, the “Prepetition Lenders”). The

Prepetition Credit Agreement provides for financing consisting of (a) a $65 million floor plan

credit facility (the “Floor Plan Facility”) and (b) a $15 million revolving credit facility (the

“Revolving Facility” and, together with the Floor Plan Facility, the “Prepetition Credit Facility”).

As of the Petition Date, Lazy Days was not eligible to borrow under the Revolving Facility due

to certain defaults thereunder.

         16.      The Floor Plan Facility allows Lazy Days to finance both new and pre-owned RV
            7
inventory.       Lazy Days’ obligations under the Floor Plan Facility are collateralized by all

vehicles purchased under the Prepetition Credit Agreement and all receivables generated from

the sale of these vehicles. Principal is due upon the sale of the respective vehicle. Both the

Floor Plan Facility and the Revolving Facility may be used by the Debtors for general working


7
     The entire Floor Plan Facility may be used to purchase new RVs, but only $26 million of the Floor Plan Facility
     may be used to purchase pre-owned inventory.

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capital purposes. Lazy Days’ obligations under Prepetition Credit Facility (collectively, the

“Prepetition Obligations”) are collateralized by a first priority perfected security interest in and

lien on any and all of Lazy Days’ assets, subject to certain exceptions, and are guaranteed by RV

Acquisition and LD Holdings.

         17.       As of the Petition Date, the outstanding principal amount due under the Floor

Plan Facility was approximately $22 million. As of the Petition Date, the Revolving Facility was

not drawn upon and approximately $493,600 is issued and outstanding under letters of credit (the
                                  8
“Existing Letters of Credit”).

B.       Senior Unsecured Notes

         18.      Lazy Days is party to that certain Indenture, dated May 14, 2004 (the

“11.75% Senior Notes Indenture”), by and between Lazy Days and The Bank of New York

Mellon, as trustee (the “Indenture Trustee”) for the Holders of the 11.75% Senior Notes (the

“Noteholders”). Pursuant to the 11.75% Senior Notes Indenture, Lazy Days issued through a

private placement $152 million in aggregate principal amount of its 11.75% Senior Notes due

2012 (the “11.75% Senior Notes”). On December 6, 2004, Lazy Days successfully completed an

exchange of $137 million of its 11.75% Senior Notes. The remaining $15 million of 11.75%

Senior Notes was not eligible for exchange. The 11.75% Senior Notes are unsecured obligations

of Lazy Days. As of the Petition Date, approximately $137.8 million in aggregate principal

amount of 11.75% Senior Notes remains outstanding. The 11.75% Senior Notes rank equally in

right of payment with all existing unsecured debt of Lazy Days and junior to all existing secured

debt of Lazy Days to the extent of the value of the liens securing such obligations.




8
     The Existing Letters of Credit are used to support the Debtors’ potential obligations under certain insurance
     policies and operating utilities.

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                                 Proposed Postpetition Financing

         19.     As previously stated, the Debtors bring this Motion to forestall the immediate and

irreparable harm that their estates likely would suffer if the Debtors do not have sufficient funds

to run their business and continue operations during the pendency of the Chapter 11 Cases

through the confirmation of the Prepackaged Plan (as defined below). The highly-leveraged

nature of the Debtors’ balance sheet, compressed operating margins and unsuccessful refinancing

efforts, all combined, have left the Debtors facing a liquidity crisis.            Moreover, the

commencement of these Chapter 11 Cases has made the Debtors’ need for additional working

capital even greater, as the Debtors are unable to fund the purchase of additional inventory solely

on cash from operations.

         20.     It is not without significant effort taken to avoid a chapter 11 filing that the

Debtors have commenced these Chapter 11 Cases. Indeed, since the beginning of 2008, the

Debtors’ management, with the help of advisors and other professionals, has been working with

the Debtors’ lenders and other constituencies to cut costs, restructure their business operations

and address operational cash shortfalls.

         21.     During the several months leading up to the Petition Date, the Debtors, together

with their financial advisor and legal counsel, engaged in intensive negotiations with the

Prepetition Agent and an informal committee of unaffiliated Holders of the 11.75% Senior Notes

(the “Ad Hoc Noteholders Committee”) to reach a consensual agreement on restructuring the

Debtors’ balance sheet through a prepackaged chapter 11 plan. On September 4, 2009, the

Debtors and the Ad Hoc Noteholders Committee executed a restructuring term sheet (a copy of

which is attached to the Disclosure Statement as Exhibit D, the “Restructuring Term Sheet”),

which sets forth the terms of the contemplated restructuring and includes the commitment of the

members of the Ad Hoc Noteholders Committee to support the Joint Prepackaged Plan of

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Reorganization of Lazy Days’ R.V. Center, Inc. and Its Debtor Affiliates Under Chapter 11 of the

Bankruptcy Code (as the same may be amended from time to time, the “Prepackaged Plan”).

         22.     Pursuant to and consistent with the Restructuring Support Agreement, the DIP

Lenders have agreed to provide the Debtors with up to $65 million in debtor-in-possession

financing, up to $45 million of which will be provided upon entry of the Interim DIP Order. Of

that amount, the Debtors propose to use approximately $22 million to repay the approximately

$22 million outstanding under the Prepetition Credit Facility, i.e. the “roll-up”, on an interim

basis. The Debtors believe that this arrangement will meet their financing needs during the brief

duration of these prepackaged Chapter 11 Cases. Specifically, the DIP Facility is designed to

provide immediate liquidity to further the Debtors’ operational restructuring, meet working

capital needs and implement the Prepackaged Plan.

                                 Urgent Need for DIP Financing

         23.     If this Motion is not approved and the Debtors do not obtain authorization to

borrow under the DIP Credit Agreement, the Debtors will suffer immediate and irreparable

harm. Without the funds available under the DIP Facility, the Debtors will not have the liquidity

to conduct their business as a going concern. Since the Petition Date, the Debtors do not have

access to funds under the Prepetition Credit Facility.         Further, the Debtors do not have

unencumbered cash. The Debtors urgently need funds to make payroll, vendor payments and

other expenditures that are critical to their continued viability and ability to reorganize. In short,

other than through the DIP Facility, the Debtors cannot obtain financing (secured or otherwise)

to effectuate their Prepackaged Plan.

         24.     Absent the DIP Facility, the Debtors may have to curtail or even terminate their

business operations to the material detriment of creditors, employees and other parties in interest

and it is likely the Debtors’ restructuring would fail. Thus, the Debtors need to ensure that

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working capital is available on an interim basis and throughout the pendency of these Chapter 11

Cases. The Debtors anticipate accessing the DIP Facility immediately for, among other things,

the purchase of additional inventory and to satisfy other obligations necessary to demonstrate to

their customers, suppliers and vendors sufficient capital to ensure ongoing operations in the

ordinary course.

         25.     With respect to the roll-up, the DIP Lenders are unwilling to provide postpetition

financing absent the immediate roll-up of the Prepetition Obligations, a condition that has been

the subject of extensive negotiations. Given the Debtors’ immediate liquidity needs discussed

herein, the DIP Lenders’ participation in postpetition financing is critical to preserving and

enhancing the value of the Debtors’ estates and thus the Debtors believe the roll-up on an interim

basis is justified in light of the circumstances of these Chapter 11 Cases.

                                          Basis for Relief

I.       The DIP Facility Should be Approved Under Section 364(c) and 364(d)(1) of the
         Bankruptcy Code.

         26.     As set forth above, the Debtors’ ability to maximize the value of their estates

hinges upon their being able to access postpetition financing. Section 364 of the Bankruptcy

Code distinguishes among (a) obtaining unsecured credit in the ordinary course of business, (b)

obtaining unsecured credit outside the ordinary course of business and (c) obtaining credit with

specialized priority or on a secured basis. Pursuant to section 364(c) of the Bankruptcy Code, if

a debtor cannot obtain postpetition credit on an unsecured basis, a court may authorize such

debtor to obtain credit or incur debt that is entitled to superpriority administrative expense status,

secured by a senior lien on unencumbered property or secured by a junior lien on encumbered

property. 11 U.S.C. § 364(c).




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         27.     A debtor seeking financing under section 364(c) of the Bankruptcy Code must

make a reasonable effort to seek other sources of unsecured credit, but is granted deference in

acting in accordance with its business judgment and, indeed, is not required to seek credit from

every possible source. See Bray v. Shenandoah Fed. Sav. & Loan Assoc. (In re Snowshoe Co.),

789 F.2d 1085, 1088 (4th Cir. 1986) (“[t]he statute imposes no duty to seek credit from every

possible lender before concluding that such credit is unavailable”); In re Ames Dep’t Stores, Inc.,

115 B.R. 34, 40 (Bankr. S.D.N.Y. 1990) (approving financing facility and holding that debtor

made reasonable efforts to satisfy the standards of section 364(c) to obtain less onerous terms

where debtor approached four lending institutions, was rejected by two and selected the least

onerous financing option from the remaining two lenders). Moreover, where few lenders likely

can or will extend the necessary credit to a debtor, “it would be unrealistic and unnecessary to

require [the debtor] to conduct such an exhaustive search for financing.” In re Sky Valley, Inc.,

100 B.R. 107, 113 (Bankr. N.D. Ga. 1988), aff’d sub nom., Anchor Sav. Bank FSB v. Sky Valley,

Inc., 99 B.R. 117, 120 n.4 (N.D. Ga. 1989); see also In re Garland Corp., 6 B.R. 456, 461

(B.A.P. 1st Cir. 1980) (authorizing secured credit under section 364(c)(2), after notice and a

hearing, upon showing that unsecured credit was unobtainable); In re Stanley Hotel, Inc., 15 B.R.

660, 663 (D. Colo. 1981) (finding refusal of two national banks to grant unsecured loans was

sufficient to support conclusion that requirements of section 364 requirement had been met);

Ames, 115 B.R. at 37-39 (holding that debtor must show that it made reasonable efforts to seek

other sources of financing under section 364(a) and (b)).

         28.     In evaluating postpetition financing proposed under section 364(c) of the

Bankruptcy Code, courts generally agree that a qualitative analysis of the credit transaction

should be applied, advocating the consideration of several factors, including whether:



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                 a.     unencumbered credit or alternative financing without superpriority status
                        is available to the debtor;

                 b.     the credit transactions are necessary to preserve assets of the estate; and

                 c.     the terms of the credit agreement are fair, reasonable, and adequate.

See, e.g., In re Aqua Assoc., 123 B.R. 192 (Bankr. E.D. Pa. 1991); In re Crouse Group, Inc., 71

B.R. 544 (Bankr. E.D. Pa. 1987).

         29.     As described above, the proposed DIP Lenders, who are comprised of the same

lenders as the Prepetition Lenders, are the natural source of postpetition financing for the

Debtors. Moreover, as described in the Phillips Declaration, the population of lenders that

provide the specialized form of secured financing used by the Debtors and other dealers of

recreational vehicles in their normal course of operations—known as floor plan financing—is

very limited, particularly in light of current credit market conditions. See Phillips Declaration at

¶ 7. Accordingly, despite the Debtors’ and their advisors’ attempts to solicit all known floor plan

lenders with the funding capacity to meet the Debtors’ anticipated financing needs, it was clear

that the Debtors would be unable to procure satisfactory alternative financing on terms as good

as, or better than, those provided by the Prepetition Lenders. See id. Accordingly, the Debtors

respectfully submit that their efforts to obtain postpetition financing satisfy the requirements

under section 364(c) of the Bankruptcy Code.

         30.     Under section 364(d), Courts may also authorize postpetition credit secured by a

senior or equal lien on encumbered property without consent from affected secured parties if the

debtor cannot obtain credit elsewhere and the interests of existing lienholders are adequately

protected. 11 U.S.C. § 364(d)(1).

         31.     Specifically, section 364(d)(1) provides, in relevant part, that a court, after notice

and a hearing, may:


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         authorize the obtaining of credit or the incurring of debt secured by a senior or
         equal lien on property of the estate that is subject to a lien only if –

         (A)     the trustee is unable to obtain credit otherwise; and

         (B)      there is adequate protection of the interest of the holder of the lien on the
                  property of the estate on which such senior or equal lien is proposed to be
                  granted.

11 U.S.C. § 364(d)(1).

         32.     The focus of a bankruptcy court’s approval of a financing agreement pursuant to

section 364 should be whether the transaction would enhance the value of the debtor’s assets.

Courts advocate using a “holistic approach” to evaluate superpriority postpetition financing

agreements that focuses on the transaction as a whole, not just on the priming liens. See, e.g., In

re Aqua Assoc., 123 B.R. at 196 (“Obtaining credit should be permitted not only because it is not

available elsewhere, which could suggest the unsoundness of the basis for use of the funds

generated by credit, but also because the credit acquired is of significant benefit to the debtor’s

estate and that the terms of the proposed loan are within the bounds of reason, irrespective of the

inability of the debtor to obtain comparable credit elsewhere.”).

         33.     In furtherance of this approach, courts consider a number of factors, including,

without limitation: (a) whether alternative financing is available on any other basis (e.g. whether

any better offers, bids or timely proposals are before the court); (b) whether the proposed

financing is necessary to preserve estate assets and is necessary, essential and appropriate for

continued operation of the debtor’s business; (c) whether the terms of the proposed financing are

reasonable and adequate given the circumstances of both the debtor and the proposed lenders; (d)

whether the proposed financing agreement adequately protects prepetition secured creditors; and

(e) whether the proposed financing agreement was negotiated in good faith and at arm’s length

and entry thereto is an exercise of sound and reasonable business judgment and in the best


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interest of the debtor’s estate and its creditors. See Blans v. Farmworker Creditors, 308 B.R.

109, 113-114 (S.D. Ga. 2003). Each of these conditions has been met here.

         A.      The DIP Facility Represents the Best Financing Available.

         34.     As explained above, the Debtors were unable to obtain satisfactory alternative

financing on terms as good as, or better than, those provided by the DIP Lenders.

         B.      The DIP Facility Is Necessary To Preserve the Assets of
                 the Debtors’ Estates During the Pendency of the Chapter 11 Cases.

         35.     As debtors in possession, the Debtors have a fiduciary duty to protect and

maximize their estates’ assets. See In re Mushroom Transp. Co., Inc., 382 F.3d 325, 339 (3d Cir.

2004); Official Comm. of Unsecured Creditors of Cybergenics Corp. v. Chinery, 330 F.3d 548,

573 (3d Cir. 2003). In recognition of that duty, the Debtors have determined in the exercise of

their sound business judgment, that the Prepackaged Plan will maximize the value of their assets

and provide greater value to creditors and all parties in interest than would converting these cases

from chapter 11 to chapter 7 at this time.

         36.     To effectuate the Prepackaged Plan, however, the Debtors will require access to

working capital in the form of postpetition financing during these Chapter 11 Cases. Given the

cyclical nature of the business, the timing of the DIP Facility coincides with the Debtors’

projected use of cash in their operations and the build of inventory levels during the RV selling

season, which typically begins right before the holidays, ramps up. Additionally, the DIP

Facility provides needed liquidity to ensure the Debtors can manage any trade contraction and

inventory price swings during this seasonal period of cash use inherent to the RV supply sector.

Thus, it is imperative for the Debtors to have the additional liquidity provided by the DIP

Facility available to them in the upcoming months. This will allow the company’s management




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team and advisors to refine and achieve their business plan and focus on emerging from chapter

11 as a reorganized going-concern enterprise as quickly as possible.

          37.    The Debtors’ inability to access financing and thereby generate revenues to

adequately support their business would severely jeopardize their ability to consummate their

restructuring plans. Approval and implementation of the DIP Facility, in contrast, will enable

continued functioning of the Debtors’ operations in the ordinary course of business and permit

the Debtors to effectuate their restructuring strategy for the benefit of all stakeholders.

          C.     The Terms of the DIP Facility Are Fair, Reasonable and Appropriate
                 Given the Circumstances and Were Negotiated In Good Faith.

          38.    In considering whether the terms of postpetition financing are fair and reasonable,

courts consider the terms in light of the relative circumstances of both the debtor and the

potential lender. In re Farmland Indus., Inc., 294 B.R. 855, 886 (Bankr. W.D. Mo. 2003); see

also Unsecured Creditors’ Comm. Mobil Oil Corp. v. First Nat’l Bank & Trust Co. (In re

Ellingsen MacLean Oil Co., Inc.), 65 B.R. 358, 365 (W.D. Mich. 1986) (a debtor may have to

enter into hard bargains to acquire funds). Moreover, given current economic conditions, there

are significant barriers to procuring financing, including debtor-in-possession financing or

otherwise, and provisions once considered “extraordinary” in debtor-in-possession financing

arrangements are, for the time-being, becoming more commonplace. See Transcript of Record at

740:4-6, In re Lyondell Chem. Co., No. 09-10023 (REG) (Bankr. S.D.N.Y. February 27, 2009)

(“[B]y reason of present market conditions, as disappointing as the [DIP] pricing terms are, I find

the provisions [of a DIP that included a roll-up of prepetition secured debt] reasonable here and

now.”).

          39.    The DIP Credit Agreement was negotiated in good faith and at arm’s-length

between the Debtors and the DIP Lender, culminating in a carefully crafted agreement designed


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to maintain the Debtors’ business as a going concern and preserve value for parties in interest.

Viewed in light of the circumstances surrounding the RV industry and the financial markets in

general, the DIP Credit Agreement, including the Highlighted Provisions discussed below,

reflects an exercise of the Debtors’ sound business judgment and is consistent with their

fiduciary duties and supported by fair consideration.

         D.      The Debtors Have Exercised Their Business Judgment in Entering Into the
                 DIP Facility.

         40.     A debtor’s decision to enter into a postpetition lending facility under section 364

of the Bankruptcy Code is governed by the business judgment standard. See, e.g., Trans World

Airlines, Inc. v. Travellers Int’l AG (In re Trans World Airlines, Inc.), 163 B.R. 964, 974 (Bankr.

D. Del. 1994) (approving postpetition credit facility because such facility “reflect[ed] sound and

prudent business judgment”); Ames Dep’t Stores, 115 B.R. at 38 (noting that financing decisions

under section 364 of the Bankruptcy Code must reflect a debtor’s business judgment).

         41.     Bankruptcy courts routinely accept a debtor’s business judgment on many

business decisions, including the decision to borrow money. See, e.g., Group of Inst. Investors v.

Chicago, Mil., St. P. & Pac. Ry., 318 U.S. 523, 550 (1943) (holding that decisions regarding

assumption or rejection of leases are left to the business judgment of the debtor); In re Simasko

Prod. Co., 47 B.R. 444, 449 (D. Colo. 1985) (“[b]usiness judgments should be left to the board

room and not to this Court”). Further, one court has noted that “[m]ore exacting scrutiny [of the

debtors’ business decisions] would slow the administration of the debtor’s estate and increase its

cost, interfere with the Bankruptcy Code’s provision for private control of administration of the

estate, and threaten the court’s ability to control a case impartially.” Richmond Leasing Co. v.

Capital Bank, N.A. , 762 F.2d 1303, 1311 (5th Cir. 1985).




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         42.     Bankruptcy courts generally will defer to a debtor in possession’s business

judgment regarding the need for and the proposed use of funds, unless such decision is arbitrary

and capricious, In re Curlew Valley Assocs., 14 B.R. 506, 511-13 (Bankr. D. Utah 1981); see

also Trans World Airlines, 163 B.R. at 974 (approving interim loan, receivables facility and

asset-based facility based upon prudent business judgment of the debtor), and generally will not

second-guess a debtor in possession’s business decisions involving “a business judgment made

in good faith, upon a reasonable basis, and within the scope of his authority under the Code.”

Curlew Valley, 14 B.R. at 513-14 (footnotes omitted).

         43.     As described above, the Debtors have exercised sound business judgment in

determining the appropriateness of the DIP Facility and have satisfied the legal prerequisites to

incur debt on the terms and conditions set forth in the DIP Credit Agreement, The DIP Credit

Agreement contains terms that are the best available under the circumstances.

II.      Modification of the Automatic Stay is Warranted.

         44.     The proposed Interim DIP Order provides that the automatic stay provisions of

section 362 of the Bankruptcy Code are vacated and modified to the extent necessary to permit

the DIP Lenders to exercise, upon the occurrence and during the continuation of any Event of

Default (as such term is defined in the DIP Credit Agreement), all rights and remedies provided

for in the DIP Credit Agreement, and to take various actions without further order of or

application to the Court. However, the DIP Lenders must provide the Debtors and various other

parties, including the U.S. Trustee and counsel to the Ad Hoc Noteholders Committee, with

three (3) business days written notice prior to exercising any enforcement rights or remedies in

respect of the Collateral or upon a shorter period of time after notice and a hearing. Moreover,

the Debtors and various other parties, including the U.S. Trustee and counsel to the Ad Hoc

Noteholders Committee, may seek within the three (3) business days notice period an expedited

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hearing before this Court solely for the purpose of considering whether, in fact, an Event of

Default has occurred and is continuing. Stay modification provisions of this sort are ordinary and

usual features of DIP financing facilities and, in the Debtors’ business judgment, are reasonable

under the present circumstances.

III.     The DIP Facility Meets the Requirements of Local Rule 4001-2

         45.      The following provisions of the DIP Credit Agreement are required to be

identified in accordance with Local Rule 4001-2 and such provisions are justified and necessary

in the context and circumstances of these Chapter 11 Cases.

         A.       Section 506(c) Waiver

         46.      Subject to entry of the Final DIP Order, the DIP Lenders have required that no

expenses of administration of the Chapter 11 Cases or any future proceeding that may result

therefrom, including liquidation in bankruptcy or other proceedings under the Bankruptcy Code,

be charged against or recovered from the DIP Lenders or any of their interests in the Collateral,

pursuant to section 506(c) of the Bankruptcy Code (the “506(c) Waiver”). See Interim DIP

Order, at ¶ 11.

         47.      Section 506(c) of the Bankruptcy Code allows the estate to surcharge the

collateral of a secured creditor to pay the reasonable and necessary costs and expenses of

preserving or disposing of such creditor’s collateral to the extent of any benefit received. See

11 U.S.C. § 506(c). In connection with the provision of debtor-in-possession financing, lenders

commonly request a waiver of a debtor’s ability to surcharge such lender’s collateral.

         48.      Here, the Debtors are not seeking the approval of the 506(c) Waiver on an interim

basis but, rather, are seeking approval of this Highlighted Provision under the Final DIP Order

pursuant to Local Bankruptcy Rule 4001-2(c). To that end, notice of this Motion and the Interim

DIP Order entered hereon will be served on all parties in accordance with Local Rule 9013-1(m).

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         49.     This Court has authorized similar section 506(c) waivers in other instances. See,

e.g., In re Source Interlink Cos., Case No. 09-11424 (KG) (Bankr. D. Del. May 28, 2009); In re

Ez Lube LLC, Case No. 08-13256 (CSS) (Bankr. D. Del. Jan 14, 2009); In re CMC (f/k/a Cone

Mills Corp.), Case No. 03-12944 (MFW) (Bankr. D. Del. Oct. 27, 2003); In re Pillowtex Corp.,
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Case No. 03-12339 (PJW) (Bankr. D. Del. Sept. 25, 2003).

         B.      Roll-Up of Prepetition Obligations

         50.     The DIP Facility contemplates a roll-up of approximately $22 million of

indebtedness under the Prepetition Credit Facility on an interim basis.                    See DIP Credit

Agreement, at ¶ 5.2. Understanding the extraordinary nature of roll-ups, the Debtors carefully

considered the terms of the postpetition financing. The Debtors believe the roll-up is justified on

an interim and final basis because the Debtors would not have been able to secure the

postpetition financing it needs to maintain and stabilize its business absent the roll-up. Indeed,

the DIP Lenders were unwilling to provide postpetition financing without the roll-up, a condition

that has been the subject of extensive negotiations.

         51.     As the obligations under the Prepetition Credit Agreement are fully-secured, the

Debtors came to the conclusion that the roll-up of the Prepetition Obligations into the DIP

Facility would only affect the timing of the repayment of the Prepetition Obligations, not their

ultimate disposition. Additionally, the refinancing of the Prepetition Obligations in connection

with the Interim DIP Order will decrease the amount of interest expense payable by the Debtors

in respect of the Prepetition Obligations that would otherwise be incurred absent interim relief.

Finally, the Interim DIP Order provides that the approval of the DIP Facility is without prejudice




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    Because of the voluminous nature of the orders cited herein, they are not attached to the Motion. Copies of
    these orders are available on request of the Debtors’ counsel.

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to the right of any official committee appointed in these Chapter 11 Cases, or other parties in

interest, to contest or challenge the validity of the Prepetition Lenders’ claims and liens.

         52.      Courts in this district have previously approved debtor-in-possession financing

agreements that provide for a roll-up of prepetition obligations. See, e.g., In re Indalex Holdings

Finance, Inc., Case No. 09-10982 (PJW) (Bankr. D. Del. May 1, 2009) (approving

approximately $85.9 million debtor-in-possession credit facility that provided for the roll-up of

approximately $72.4 million of obligations outstanding under the debtors’ prepetition credit

facility); In re Linens Holding Co., Case No. 08-10832 (CSS) (Bankr. D. Del. May 28, 2008)

(approving debtor-in-possession credit facility providing for the roll-up of certain prepetition

obligations); In re Hoop Holdings Inc., Case No. 08-10544 (BLS) (Bankr. D. Del. Apr. 16, 2008)

(same); In re Buffets Holdings, Inc., Case No. 08-10141 (MFW) (Bankr. D. Del. Feb. 22, 2008)

(same); In re Dura Automotive Systems, Inc., Case No. 06-11202 (KJC) (Bankr. D. Del. Nov. 21,
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2006) (same).

         53.      Accordingly, the Debtors believe the proposed roll-up is appropriate under the

circumstances and is justified on both an interim and final basis.

         C.       Validity, Perfection and Amount of Prepetition Obligations

         54.      The proposed Interim DIP Order contains certain findings of fact that would bind

parties in interest with respect to the existence, validity or amount of the Prepetition Obligations.

Specifically, the Committee, if any, or other party in interest has until the earlier of (i) seventy

five (75) days from the Petition Date, (ii) the confirmation objection deadline on the

Prepackaged Plan and (iii) for any Committee, if formed, sixty (60) days from the date of such

Committee’s formation to investigate the validity, perfection, enforceability, extent of the


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     Because of the voluminous nature of the orders cited herein, they are not attached to the Motion. Copies of
     these orders are available on request of the Debtors’ counsel.

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Prepetition Obligations, lender liability claims and causes of action, any actions, claims or

defenses under chapter 5 of the Bankruptcy Code or any other claims or causes of action. If no

objection or other action is timely-filed, all holders of claims and interests as well as other parties

in interest shall be forever barred from bringing or taking any action and the Debtors’

stipulations and acknowledgements will be binding on all parties in interest. See Interim DIP

Order, at ¶ 9.

         55.     Local Rule 4001-2(a)(i)(B) requires explicit disclosure of provisions that seek to

bind the estate or other parties in interest with respect to the validity, perfection or amount of a

secured creditor’s prepetition lien or the waiver of claims against such secured creditors without

first giving parties in interest at least 75 days from the date of entry of the interim financing order

(or the Committee 60 days from the date of formation). See Del. Bankr. L.R. 4001-2(a)(i)(B).

Here, the Debtors submit they have complied with the Local Rule, including the time

requirements set forth therein.

IV.      Interim Approval of Access to the DIP Facility Proceeds Should be Approved.

         56.     The Court may grant interim relief in respect of a motion filed pursuant to

section 363 and 364 of the Bankruptcy Code, such as this Motion, where such interim relief is “is

necessary to avoid immediate and irreparable harm to the estate pending a final hearing.” See

Fed. R. Bankr. P. 4001; Del. Bank. L.R. 4001-2(b). In examining requests for interim relief

under this rule, courts apply the same business judgment standard applicable to other business

decisions. See, e.g., Ames Dep’t Stores, 115 B.R. at 36; Simasko, 47 B.R. at 449. Under this

standard, the Debtors’ request for entry of the DIP Orders, in the time periods and for the

financing amounts requested herein, is appropriate.

         57.     In this instance, it is essential that the Debtors immediately stabilize its operations

and cash flow, which will maximize the potential for implementation of a successful plan of

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reorganization and preserve the going concern value for all stakeholders. Given the Debtors’

current cash constraints, however, the foregoing will not be possible unless the Debtors have

immediate access to additional funds. Accordingly, the Debtors are requesting authority to have

immediate access to the proceeds provided under the DIP Credit Agreement and subject to the

terms and conditions of the Interim DIP Order.

         58.     Moreover, courts in this jurisdiction have granted similar relief in other chapter 11

cases. See e.g., In re Smurfit-Stone Container Corporation, No. 09-10235 (BLS) (Bankr. D. Del.

Jan. 27, 2009) (allowing the debtors to borrow $550 million of a proposed $750 million DIP

facility on an interim basis); In re Broadstripe, LLC, No. 09-10006 (CSS) (Bankr. D. Del. Jan. 6,

2009) (allowing the debtors to borrow $6 million of a proposed $15 million DIP facility on an

interim basis); In re SemCrude, L.P., No. 08-11525 (BLS) (Bankr. D. Del. Aug. 8, 2008)

(allowing the debtors to borrow $150 million of a proposed $250 million DIP facility on an

interim basis); In re Pierre Foods, Inc., No. 08-11480 (KG) (Bankr. D. Del. July 16, 2008)

(allowing the debtors to borrow $29 million of a proposed $35 million DIP facility on an interim

basis); In re Tropicana Entm’t, LLC, No. 08-10856 (KJC) (Bankr. D. Del. May 7, 2008)

(allowing the debtors to borrow $20 million of a proposed $67 million DIP facility on an interim

basis); In re Leiner Health Prods. Inc., No. 08-10446 (KJC) (Bankr. D. Del. March 12, 2008)

(allowing the debtors to borrow $20 million of a proposed $74 million DIP facility on an interim

basis); In re Wickes Holdings, LLC, No. 08-10212 (KJC) (Bankr. D. Del. Feb. 5, 2008) (allowing

the debtors interim access to $30 million DIP facility); In re Tweeter Home Entm’t Group, Inc.,

No. 07-10787 (PJW) (Bankr. D. Del. June 12, 2007) (allowing the debtors to borrow $33 million

of a proposed $60 million DIP facility on an interim basis); In re Hancock Fabrics, Inc., No. 07-

10353 (BLS) (Bankr. D. Del. March 21, 2007) (allowing the debtors to borrow $10 million of a



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proposed $105 million DIP facility on an interim basis); In re Dura Auto. Sys., Inc., No. 06-

11202 (KJC) (Bankr. D. Del. Oct. 31, 2006) (allowing the debtors to borrow $50 million of a

proposed $300 million DIP facility on an interim basis); In re J.L. French Auto. Castings, Inc.,

No. 06-10119 (MFW) (Bankr. D. Del. Feb. 13, 2006) (allowing the debtors to borrow $25
                                                                             11
million of a proposed $50 million DIP facility on an interim basis).

                                        Request for Final Hearing

         59.     Pursuant to Bankruptcy Rules 4001(b)(2) and (c)(2) and Local Rule 4001-2(c),

the Debtors requests that the Court set a date for the final hearing that is as soon as practicable,

but in no event later than thirty (30) days following the entry of the Interim DIP Order, and fix

the time and date prior to the final hearing for parties to file objections to the Motion.

                          Waiver of Bankruptcy Rule 6004(a) and 6004(h)

         60.     To implement the relief requested herein successfully, the Debtors request a

waiver of the notice requirements under Bankruptcy Rule 6004(a) and the ten-day stay of an

order authorizing the use, sale or lease of property under Bankruptcy Rule 6004(h), as

applicable.

                                                    Notice

         61.     The Debtors have provided notice of this Motion to: (a) the Office of the United

States Trustee for the District of Delaware; (b) the entities listed on the Consolidated List of

Creditors Holding the 30 Largest Unsecured Claims filed pursuant to Bankruptcy Rule 1007(d);

(c) counsel to the DIP Agent and the Prepetition Agent; (d) the indenture trustee for the Debtors’

11.75% Senior Notes; (e) counsel to the Ad Hoc Noteholders Committee; (f) the Internal

Revenue Service; and (g) the Securities and Exchange Commission. Notice of the Motion and


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     Because of the voluminous nature of the orders cited herein, they are not attached to the Motion. Copies of
     these orders are available on request of the Debtors’ counsel.

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any order entered in connection with the Motion will be served in accordance with Local Rule

9013-1(m). In light of the nature of the relief requested, the Debtors respectfully submit that no

further notice is necessary.

                                         No Prior Request

         62.     No prior motion for the relief requested herein has been made to this or any other

court.




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         WHEREFORE, for the reasons set forth herein, the Debtors respectfully requests that the

Court enter the Interim DIP Order, substantially in the form attached hereto as Exhibit A,

granting the relief requested herein and granting such other and further relief as the Court deems

appropriate.

Dated: November 5, 2009
       Wilmington, Delaware
                                               Edmon L. Morton
                                        YOUNG CONAWAY STARGATT & TAYLOR, LLP
                                        Robert S. Brady (Bar No. 2847)
                                        Edmon L. Morton (Bar No. 3856)
                                        1000 West Street, 17th Floor
                                        PO Box 391
                                        Wilmington, Delaware 19801
                                        Telephone: (302) 571-6600
                                        Facsimile: (302) 571-1253

                                                         - and -

                                        KIRKLAND & ELLIS LLP
                                        David L. Eaton (pro hac vice admission pending)
                                        300 North LaSalle Drive
                                        Chicago, Illinois 60654
                                        Telephone: (312) 862–2000
                                        Facsimile:     (312) 862–2200

                                                         - and -

                                        KIRKLAND & ELLIS LLP
                                        Jennifer L. Marines (pro hac vice admission pending)
                                        601 Lexington Avenue
                                        New York, New York 10022–4611
                                        Telephone: (212) 446–4800
                                        Facsimile:    (212) 446–4900

                                        Proposed Attorneys for the Debtors and Debtors in
                                        Possession




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